                         Case 8:20-bk-06489-MGW                Doc 12     Filed 08/28/20    Page 1 of 2
[Dntcdfnc] [District Notice Deficient Filing New Case]



                                                  UNITED STATES BANKRUPTCY COURT
                                                     MIDDLE DISTRICT OF FLORIDA
                                                           TAMPA DIVISION
                                                          www.flmb.uscourts.gov



In re:                                                                            Case No. 8:20−bk−06489−MGW
                                                                                  Chapter 11
Teewinot Life Sciences Corporation



________Debtor*________/



                                       NOTICE OF INCOMPLETE AND/OR DEFICIENT FILING
                                          AND OPPORTUNITY TO CURE DEFICIENCIES

    On August 27, 2020 the above named Debtor filed a Voluntary Petition under Chapter 11 of the Bankruptcy Code.
The clerk has noted deficiencies to the petition, schedules and/or other filed papers of this Debtor. The Debtor is
provided an opportunity to cure the deficiencies within the time set forth herein. All deadlines run from the original
petition file date unless otherwise noted. This case may be dismissed without further notice or hearing if the Debtor
fails to timely correct the noted deficiency.

   Due to the impact of the Coronavirus, at this time the filing windows at the Courthouses are CLOSED. Debtors
who are not represented by an attorney shall cure deficiencies by filing the required papers with the Court by email,
facsimile ("fax"), U.S. Mail, or other delivery. Debtors are strongly encouraged to file by email as there may be
delays in the Court's processing of papers received by fax, U.S. Mail, or other delivery.

Debtors may file papers in Tampa and Ft. Myers cases at the following addresses. If papers are filed by email or fax,
Debtor must also mail the papers to the Courthouse.

flmb−intake−tampa−ft−myers@flmb.uscourts.gov
(Fax) 813−301−5192
U.S. Bankruptcy Court
801 North Florida Avenue
Suite 555
Tampa, FL 33602

           The attorney for Debtor did not file an Attorney's Disclosure of Compensation required by 11 U.S.C.
           § 329 and Fed. R. Bankr. P. 2016(b). The attorney for the Debtor is directed to file an Attorney's
           Disclosure of Compensation (Form B2030) within 14 days from the date the petition was filed.
           Failure of attorney for the Debtor to cure this deficiency may result in sanctions or the issuance of a
           show cause order.

           The Debtor shall pay unpaid filing fees in the amount of N/A within seven days from the date of
           service of this notice. Payment shall be made by cashier’s check or money order payable to Clerk,
           U.S. Bankruptcy Court at the address indicated below.



                                                         FOR THE COURT
              Dated: August 28, 2020                     Sheryl L. Loesch , Clerk of Court
                                                         Sam M. Gibbons United States Courthouse
                                                         801 North Florida Avenue, Suite 555
                                                         Tampa, FL 33602
          Case 8:20-bk-06489-MGW                Doc 12      Filed 08/28/20       Page 2 of 2

The Clerk's office is directed to serve a copy of this notice on interested parties.

*All references to "Debtor" shall include and refer to both debtors in a case filed jointly by two
individuals.
